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IN THE UNITED STATES DISTRICT COURT mw BY' _§5 D`G;
FOR THE WESTERN DISTRICT ()F TENNESSEE

 

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v_ ) No. 04-2914-Dv
) JURY rRiAL DEMANDED
CRACKER BARREL oLD CoUNTRY )
SToRE, INC. )
A TENNEssEE CoRPoRATIoN, )
)
Defendant. )

 

PROTECTIVE ORDER

 

The Parties have moved for a Protective Order in light of certain sensitive and
confidential information held by each Party Which is subject to production in this case pursuant

to Rule 26 of the F ederal Rules of Civil Procedure.

IT IS HEREBY ORDERED pursuant to Rule 26 of the Federal Rules of Civil Procedure
in order to protect sensitive, private and confidential information contained in documents that
Defendant Cracker Barrel Old Country Store, Inc. produces to Plaintiff Victor Isip and Which
may be contained in documents Plaintiff Victor lsip produces to Defendant Cracker Barrel Old

Country Store, lnc. that:

l. For the purpose of this Order, the term "Conf`rdential Information" means any
documents, things, testimony, discovery responses, court papers, or other information or things
that Def`endant believes to contain confidential or proprietary information about Defendant,

Defendant‘s policies, procedures and information related to its business, or information relatin-

  

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to current or former employees of Cracker Barrel, statements of or about current or fenner
Cracker Barrel employees, that Defendant produces to Plaintiff, and any copies or reproduction
of such Confidential Infonnation, or any portion thereof, or any information contained in or
taken from the Contidential Information. Confldential Inforrnation also means any documents,
things, testing, discovery responses, court papers that Plaintiff believes to contain Conf`idential
Inforrnation about Plaintiff, his tax returns and medical or psychological records that Plaintiff
produces to Defendant, and any copies or reproduction of that Confidential Infonnation, or any
portion thereof, or any information contained in or taken.fo‘€§%‘$ntidential Inforrnation.

2. Additionally, the term "Confidential Information“ shall also mean any document,
thing, testimony, response, letter, or other information or thing that either party has produced to
any State or Federal agency including, but limited to, the Tennessee Department of Labor and
Workforce Development, the Equal Employee Opportunity Commission, or the Tennessee
Human Rights Commission.

3. Pursuant to the Privacy Regulation of the Health Insurance Portability and
Accountability Act of 1996, 45 CFR §164.512(e), the above-captioned action shall be governed
by the following Qualified Protective Order:

a. This Protective Order prohibits the parties from using or disclosing the
protected health information for any purpose other than the litigation or proceeding for Which
such information Was requested

b. This Protective Order requires the return to the covered entity or

destruction of the protected health information (including all copies made) at the end of the

litigation or proceeding

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4. The recipients of any protected health information will not use such information
or disclose such information to the public or to any third party for any purpose other than in
connection with this litigation, and will not disclose such information to anyone other than
persons entitled to access such information pursuant to this Order.

5. Counsel for each party to this Protective Order shall take reasonable precautions
to prevent the unauthorized or inadvertent disclosure of any protected health information

6. The Confidential Infonnation shall be stamped or otherwise marked
"CONFIDENTIAL" by such party prior to using it in order for it to be subject to this order.

7. Information designated as "CONFIDENTIAL" may be disclosed only to the
following persons and only after those persons are informed of the contents of this Order and
agree to be bound by its terms:

a. Attorneys working for any party in connection with matters related to this
dispute, including in house counsel and all employees of such attorneys to whom it is necessary
that the material be shown to assist such attorney;

b. Any outside expert or consultant who is expressly retained or sought to be
retained by any party or attorney to help in preparing this action for trial;

c. The individual plaintiff and the corporate parties' officers, directors, or
current or former employees that Counsel for the Defendants deem necessary to participate in the
conduct of this litigation;

d. The corporate parties’ officers, directors or current or former employees
who are noticed for deposition or designated as potential trial witnesses and other persons who
counsel for a party in good faith believes may be fact or expert Witnesses to the extent deemed

necessary by counsel to prepare the witness to testify;

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e. The Court and its staff;
f. Independent court reporters employed by counsel or the Court in this
action;
g. Persons preparing transcripts of depositions;
h. Outside copy and/or document service companies; and
i. The Jury in the trial of this matter.
8. Notwithstanding anything to the contrary herein, information designated as

"Confidential" may be disclosed to a person indicated as the author, direct recipient, or copy
recipient of the confidential information

9. Any person who is given access to the Confidential lnfonnation, other than Court
personnel, court reporters, the jury, copy service, and counsel in this case, shall first be provided
with a copy of this Order.

10. To the extent any person seeks to file any of the Confidential Information with the
Court, such person shall file the Confidential Infonnation under seal.

ll. ln no event may any person who is given access to the Confidential Infonnation
as provided herein make copies for or allow anyone else to copy or disclose to anyone other than
Plaintiff and Defendant’s counsel any contents of the Confidential Information.

12. All persons given access to the Confidential Information under the terms of this
Order are permitted to use the Confidential Information and the information contained in the
Confidential Inforrnation only for purposes of this lawsuit, and no person given access to the
Confidential Infonnation under the terms of this order may publish the Confidential Information,
in whole or in part, or any of the information contained in the Confidential Information, or use

the Confidential Information for any other purpose.

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13. Nothing in this Order shall be deemed a waiver of either Party's right to oppose,
for any reason, the production or use in this action of information obtained from the Confidential
Information.

14. Upon the termination of this action, each Party shall assemble and shred or return
to opposing counsel all Confidential Information and duplicates of the Confidential Information
as well as all computer disks, notes, documents, and other things, including but limited to,
summaries and abstracts, that contain or reflect restricted information from the Confidential
Information.

15. Nothing herein shall prevent disclosure beyond the terms of this Protective Order
if each party consents to such disclosure, or the Court, after notice to all affected parties, orders
such disclosure Nor shall anything herein preclude a party to the lawsuit or its attorneys from
using a document or information designated as "CONFIDENTIAL" in the examination or cross-
examination of any person who is an author, source, or recipient of the “CONFIDENTIAL"
document or information, irrespective of which party or nonparty produced such infonnation.

16. This Order shall be without prejudice to the right of any party in this action to
seek a further protective order or modification of this Order.

17. This Order shall be without prejudice to the right of a party to bring before the
Court at any time the issue of Whether any person identified in this Order is or is not qualified to
have access to the Confidential Information. l

18. This production of Confidential Discovery Material shall not in any way
constitute a waiver of the parties to raise or assert any objections which may hereafter be raised
or asserted, including but not limited to defenses or objections with respect to the use, relevancy

or admissibility of any of the Confidential Discovery Material produced pursuant to this Order.

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19. The Court will retain jurisdiction even after the case is closed to enforce the

provisions of this Order.

IT IS SO OR_DERED.

Entered this&££d:ly of HLL , 2005.
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UNITED STATES B'ISTRFCT JUDGE

APPROVED FOR ENTRY:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02914 was distributed by fax, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

.limmy Moore

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Honorable Bernice Donald
US DISTRICT COURT

